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 6   Attorneys for Defendant JORGE SANDOVAL
 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           )
12                                       )                Case No. 2:11-cr-00119-04 WBS
                       Plaintiff,        )
13
                                         )                STIPULATION AND [PROPOSED]
14         vs.                           )                ORDER TO EXCLUDE TIME
                                         )
15   JORGE SANDOVAL,                     )
                                         )
16
                       Defendants.       )
17   ____________________________________/

18          The parties hereby stipulate that the status conference in this case be continued from
19
     Monday, March 24, 2014, at 9:30 a.m. to Monday, May 5, 2014, at 9:30 a.m. The parties
20
     stipulate that the time between March 24, 2014, and May 5, 2014, should be excluded from the
21

22   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are

23   served by the Court excluding such time, so that counsel for the defendant may have reasonable
24
     time necessary for effective preparation, taking into account the exercise of due diligence. 18
25
     U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4. Moreover, the parties continue to engage in
26
     discussions about a possible resolution that could benefit the defendant by significantly reducing
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28   his possible sentencing exposure in this case. For these reasons, the defendant agrees that a

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               Case 2:11-cr-00119-WBS Document 193 Filed 03/24/14 Page 2 of 3


 1   continuance. Therefore the parties have stipulated to continue the status conference in this case.
 2
     The parties stipulate and agree that the interests of justice served by granting this continuance
 3
     outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161
 4

 5
     (h)(7)(A).

 6            The parties further request that this matter be taken off the March 24, 2014, calendar
 7   before Judge William B. Shubb and be rescheduled for May 5, 2014, at 9:30 a.m. before Judge
 8
     Shubb.
 9
                                                           Respectfully submitted
10

11                                                         LAW OFFICES OF TIM A. PORI

12   Date: March 20, 2014                                  /s/ Tim A. Pori_______________
                                                           TIM A. PORI
13
                                                           Attorney for Defendant SANDOVAL
14

15
     Date: March 20, 2014                                  /s/ Jason Hitt (Authorized 3/20/2014)
16
                                                           JASON HITT
17                                                         Assistant United States Attorney

18

19
                                                       ORDER
20
              IT IS HEREBY ORDERED that the Status Conference in the above-entitled matter is
21

22   continued to May 5, 2014, at 9:30 a.m. before the Honorable William B. Shubb and that the time

23   between March 24, 2014, and May 5, 2014, be excluded from the calculation of time under the
24
     Speedy Trial Act.
25
     Dated: March 21, 2014
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